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                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


SARA SUMRALL, Individually and on                                               PLAINTIFF
behalf of All Others Similarly Situated


vs.                                      No. 5:19-cv-642


SNOOZE HOLDINGS, INC.                                                          DEFENDANT


                   ORIGINAL COMPLAINT—COLLECTIVE ACTION


      COMES NOW Plaintiff Sara Sumrall, individually and on behalf of all others

similarly situated, by and through her attorneys Merideth Q. McEntire and Josh Sanford

of Sanford Law Firm, PLLC, and for her Original Complaint—Collective Action against

Defendant Snooze Holdings, Inc. (“Defendant”), and in support thereof does hereby state

sand alleges as follows:

                           I.         PRELIMINARY STATEMENTS

      1.      This is a collective action brought by Plaintiff Sara Sumrall (“Plaintiff”) on

behalf of herself and other hourly-paid barista, bartender, and server employees of

Defendant at any time within a three-year period preceding filing of this Complaint.

      2.      Plaintiff brings this action under the Fair Labor Standards Act, 29 U.S.C. §

201, et seq. (“FLSA”) for declaratory judgment, monetary damages, liquidated damages,

prejudgment interest, and costs, including reasonable attorneys’ fees as a result of

Defendant’s failure to pay Plaintiff and other hourly employees overtime compensation

for all hours worked in excess of forty (40) hours per week.



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       3.      Upon information and belief, for at least three (3) years prior to the filing of

this Complaint, Defendants have willfully and intentionally committed violations of the

FLSA as described, infra.

                            II.     JURISDICTION AND VENUE

       4.      The United States District Court for the Western District of Texas has

subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331 because

this suit raises federal questions under the FLSA.

       5.      The acts complained of herein were committed and had their principal effect

against the named Plaintiffs herein within the San Antonio Division of the Western District

of Texas; therefore, venue is proper within this District pursuant to 28 U.S.C. § 1391.

                                    III.      THE PARTIES

       6.      Plaintiff repeats and re-alleges all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       7.      Plaintiff was employed by Defendant within the three (3) years preceding

the filing of this Original Complaint

       8.      Plaintiff Sara Sumrall (“Plaintiff”) is a resident and citizen of Bexar County.

       9.      Plaintiff was employed by Defendant as a barista, bartender and server from

November of 2018 until May of 2019.

       10.     Plaintiff worked for Defendant at multiple store locations in San Antonio.

       11.     At all times material herein, Plaintiff has been entitled to the rights,

protections, and benefits provided under the Fair Labor Standards Act 29 U.S.C. § 201,

et seq.




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       12.    Defendant is a foreign for-profit corporation, licensed to do business in the

State of Texas.

       13.    Defendant operates several restaurants known as “Snooze An A.M. Eatery”

in San Antonio, with additional locations across Texas and in multiple states including

Colorado, California and Arizona.

       14.    Defendant      operates       a     website       at     the   following   address:

https://snoozeeatery.com.

       15.    Defendant’s principal office address is 3001 Brighton Boulevard, Suite 303,

Denver, Colorado 80216.

       16.    Defendant’s registered agent for service of process is Corporation Service

Company d/b/a CSC-Lawyers Incorporating Service Company, Inc., 211 East 7th Street,

Suite 620, Austin, Texas 78701-3218.

       17.    Defendant is an “employer” within the meaning set forth in the FLSA, and,

at all times relevant to the allegations in this Complaint, the employer of Plaintiff and other

similarly situated hourly employees.

       18.    During each of the three years preceding the filing of this Complaint,

Defendant employed at least two individuals who were engaged in interstate commerce

or in the production of goods for interstate commerce, or had employees handling, selling,

or otherwise working on goods or materials that had been moved in or produced for

commerce by any person, such as tools and equipment.

       19.    Defendant had an annual gross volume of sales made or business done is

not less than $500,000.00 (exclusive of excise taxes at the retail level that are separately

stated).

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         20.   Defendant’s workers routinely use liquor, food, dishes, coffee makers, and

other kitchen tools in performing their job duties. Thus, its employees used, handled, sold,

and/or worked on, goods or materials that were produced for or traveled in interstate

commerce.

                               IV. FACTUAL ALLEGATIONS

         21.   Plaintiff repeats and re-alleges all the preceding paragraphs of this

Complaint as if fully set forth in this section.

         22.   During part of the three (3) years prior to the filing of this lawsuit, Plaintiff

worked for Defendant as an hourly-paid barista, bartender and server.

         23.   As a barista and bartender, Plaintiff’s primary duties included taking orders

from customers, making drinks, serving customers food and drinks, and cleaning the

store.

         24.   Plaintiff was an hourly employee for the entire duration of her employment

with Defendant and was paid an hourly rate.

         25.   During her shifts, Plaintiff often worked in excess of forty (40) hours per

week throughout her tenure with Defendant. Other hourly employees worked similar

hours.

         26.   Plaintiff and other hourly employees received an hourly rate for all hours

worked for Defendants, up to forty (40) hours per week.

         27.   Plaintiff was required to work more than forty (40) hours a week; however,

Defendant would not compensate Plaintiff for all of her time worked over forty (40) hours

a week and required that some overtime work be done off the clock.




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       28.     On a regular day working as a barista and bartender, Plaintiff would arrive

at work around 5:30-5:45 a.m. and begin setting up the bar, preparing garnishes, and

cleaning. She would clock in at 6 a.m.

       29.     Defendant expected Plaintiff to finish her shift at a certain time every day so

that is when she was required to clock out. Most of the time Plaintiff still had clean-up

work to complete and would spend time after her shift finishing this work. This was the

same for all hourly baristas and bartenders.

       30.     As a server, Plaintiff arrived for her shift and began preparations, but was

not allowed to clock in until her first table of customers was seated.

       31.     As a direct result of Defendants’ policies, even though Plaintiff and other

hourly-paid employees worked more than forty (40) hours in many weeks that they

worked for Defendants during time period relevant to this Complaint, they were not

compensated for all of their overtime hours worked.

       32.     Defendant knew, or showed reckless disregard for whether, the way it paid

Plaintiff and the other hourly employees violated the FLSA.

                   V.     REPRESENTATIVE ACTION ALLEGATIONS

       33.     Plaintiff repeats and re-alleges all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       34.     Plaintiff brings this claim for relief for violation of the FLSA as a collective

action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of all persons

similarly situated as hourly employees who were or are employed by Defendant and who

are entitled to payment for all overtime wages earned which Defendant failed to pay from




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three years prior to the date of the filing of this lawsuit, through the time of the trial of this

case.

        35.     Plaintiff is unable to state the exact number of the class but believe that the

class membership exceeds thirty (30) persons. Defendant can readily identify the

members of the class, who are a certain portion of the current and former employees of

Defendant.

        36.     The proposed FLSA class members are similarly situated in that they have

been subject to uniform practices by Defendant which violated the FLSA, including:

        A.      They were classified by Defendant as non-exempt from the overtime

requirements of the FLSA;

        B.      They were paid hourly;

        C.      They recorded their time in the same manner;

        D.      They were required to work off the clock before and/or after shifts;

        E.      They worked as baristas, bartenders, and/or servers;

        F.      They were subject to Defendant’s common policy of failing to pay an

overtime rate for all hours worked over forty (40) per work week.

        37.     The names and physical and mailing addresses of the probable FLSA

collective action Plaintiffs are available from Defendant, and notice should be provided to

the probable FLSA collective action Plaintiffs via first class mail to their last known

physical and mailing addresses as soon as possible.

        38.     The cell phone numbers and email addresses of many of the probable FLSA

collective action plaintiffs are available from Defendant, and notice should be provided to




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the probable FLSA collective action plaintiffs via text message and/or email to their last

known cell phone number and/or email address as soon as possible.

                            VI.   FIRST CLAIM FOR RELIEF
                        (Individual Claim for Violations of FLSA)

       39.     Plaintiff repeats and re-alleges all the preceding paragraphs of this Original

Complaint as if fully set forth in this section.

       40.     29 U.S.C. § 207 requires employers to pay employees one and one-half

times the employee’s regular rate for all hours that the employee works in excess of forty

(40) per week. 29 U.S.C.S. § 207.

       41.     Defendant failed to pay Plaintiff at a rate of one and one-half times her

regular rate for all hours worked over forty (40) hours per week.

       42.     Defendant’s conduct and practice, as described above, has been and is

willful, intentional, unreasonable, arbitrary, and in bad faith.

       43.     By reason of the unlawful acts alleged herein, Defendant is liable to Plaintiff

for, and Plaintiff seeks, unpaid overtime wages, liquidated damages, pre-judgment

interest, and costs, including reasonable attorney’s fees as provided by the FLSA.

       44.     Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiff as provided by the FLSA, Plaintiff is entitled to an award of

prejudgment interest at the applicable legal rate.

                           VII. SECOND CLAIM FOR RELIEF
                     (Collective Action Claim for Violation of FLSA)

       45.     Plaintiff repeats and re-alleges all previous paragraphs of this Original

Complaint as though fully incorporated herein.




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       46.    Plaintiff asserts this claim on behalf of all hourly-paid employees of

Defendant with the jobs of barista, bartender, and server to recover monetary damages

owed by Defendant to Plaintiff and members of the putative class for unpaid overtime

compensation for all the hours they worked in excess of forty (40) per week.

       47.    Plaintiff brings this collective action on behalf of all hourly-paid baristas,

bartenders, and servers employed by Defendant to recover monetary damages owed by

Defendant to Plaintiffs and members of the putative Class for all the overtime

compensation for all the hours they and they worked in excess of forty (40) each week

and did not get paid.

       48.    Plaintiff bring this action on behalf of herself and all other similarly situated

employees, former and present, who were and/or are affected by Defendant’s willful and

intentional violation of the FLSA.

       49.    Like Plaintiff, these hourly-paid barista, bartender, and server employees

regularly worked more than 40 hours in a week.

       50.    29 U.S.C. § 207 requires employers to pay employees one and one-half

times the employee’s regular rate for all hours that the employee works in excess of forty

(40) per week. 29 U.S.C.S. § 207.

       51.    Defendant failed to pay Plaintiff and those similarly situated overtime for

each and every hour over 40 hours these hourly-paid employees worked in a week, but

chose to deliberately pay them for only some of those hours.

       52.    Because these employees are similarly situated to Plaintiff, and are owed

overtime for the same reasons, the opt-in class is properly defined as follows:

 All hourly-paid baristas, bartenders, and/or servers within the past three years.

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                                 VIII.    PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff respectfully prays that Defendant be

summoned to appear and to answer herein as follows:

       A.       That Defendant be required to account to Plaintiff, the class members, and

the Court for all of the hours worked by Plaintiff and the class members and all monies

paid to them;

       B.       A declaratory judgment that Defendant’s practices alleged herein violate the

Fair Labor Standards Act, 29 U.S.C. §201, et seq., and attendant regulations at 29 C.F.R.

§516 et seq.;

       C.       Certification of, and proper notice to, together with an opportunity to

participate in the litigation, all qualifying current and former employees;

       D.       Judgment for damages for all unpaid overtime compensation under the Fair

Labor Standards Act, 29 U.S.C. §201, et seq., and attendant regulations at 29 C.F.R.

§516 et seq.;

       E.       Judgment for liquidated damages pursuant to the Fair Labor Standards Act,

29 US.C. §201, et seq., and attendant regulations at 29 C.F.R. §516 et seq., in an amount

equal to all unpaid overtime compensation owed to Plaintiff and members of the Class

during the applicable statutory period;

       F.       An order directing Defendant to pay Plaintiff and members of the Class

prejudgment interest, reasonable attorney’s fees and all costs connected with this action;

and

       G.       Such other and further relief as this Court may deem necessary, just and

proper.

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                                         Respectfully submitted,

                                         SARA SUMRALL, Individually
                                         and on behalf of Others Similarly
                                         Situated, PLAINTIFF

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